      Case 4:19-cv-07123-PJH Document 119 Filed 08/07/20 Page 1 of 4




 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
14                                             LIMITED’S MOTION TO EXTEND TIME
           v.
                                               TO OPPOSE PLAINTIFFS’ MOTION TO
15   NSO GROUP TECHNOLOGIES LIMITED            COMPEL
     and Q CYBER TECHNOLOGIES LIMITED,
16                                             [Filed Concurrently with Declaration of
                 Defendants.                   Joseph N. Akrotirianakis and [Proposed]
17                                             Order]
18                                             Ctrm: 3
                                               Judge: Hon. Phyllis J. Hamilton
19

20                                             Action Filed: 10/29/2019
21

22

23

24

25

26

27

28

      DEFENDANTS’ MOTION TO EXTEND                                  Case No. 4:19-cv-07123-PJH
      TIME
         Case 4:19-cv-07123-PJH Document 119 Filed 08/07/20 Page 2 of 4




 1                                         NOTICE OF MOTION
 2           TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3           PLEASE TAKE NOTICE that Defendants NSO Group Technologies Limited (“NSO”)
 4 and Q Cyber Technologies Limited (“Q Cyber” and, collectively with NSO, “Defendants”) hereby

 5   move the Court for an order extending the time for Defendants to oppose Plaintiffs’ motion to
 6   compel. 1
 7                                STATEMENT OF RELIEF SOUGHT
 8           Defendants seek an order extending the deadline for their opposition to Plaintiffs’ motion

 9 to compel (Dkt. No. 116) because they are unable to disclose information relevant to the motion
10   until the Court enters a protective order allowing Defendants to produce documents to Plaintiffs

11   on an attorney’s eyes only basis.

12           As explained in Defendants’ recent motions related to their request for a protective order,

13 Defendants recently obtained information that bears on the issues raised in Plaintiffs’ motion to

14 compel, but Defendants are unable to disclose it without violating certain legal obligations until a

15 protective order is in place. If Defendants were required to file their opposition to Plaintiffs’

16 motion to compel without the protective order, Defendants’ brief could not be fully candid about

17 matters relevant to the orderly management of the case, including Plaintiffs’ motion to compel.

18 Accordingly, Defendants ask the Court to extend the deadline for Defendants to oppose Plaintiffs’

19 motion until ten days after the Court issues a protective order. See Local Rule 6-1(b). 2

20                                    POINTS AND AUTHORITIES

21           It is not unusual for a party to litigation that involves sensitive information to need the

22   Court to enter a protective order before the information is disclosed; that is the point of the Court’s

23

24   1
       In bringing this motion, Defendants do not concede that they are subject to the personal
     jurisdiction of this Court and reserve all rights to contest personal jurisdiction. Defendants also
25   do not concede that this Court has subject matter jurisdiction over this proceeding and reserve all
26   rights to contest subject matter jurisdiction.
     2
     To the extent “symmetry” between Plaintiffs’ motion to compel and Defendants’ motion for a
27 stay pending appeal (Dkt. No. 117) (both filed August 5, 2020) is important, Defendants would
28 not object to an equivalent extension of Plaintiffs’ deadline to oppose Defendants’ motion to stay
   pending appeal.
         DEFENDANTS’ MOTION TO EXTEND                                            Case No. 4:19-cv-07123-PJH
         TIME
         Case 4:19-cv-07123-PJH Document 119 Filed 08/07/20 Page 3 of 4




 1   model order. As explained in Defendants’ motion for entry of a protective order, Defendants are

 2   in possession of information that is of considerable importance to the orderly administration of

 3   this case. (Akro. Decl. ¶ 2.) Unfortunately, Defendants and their counsel cannot disclose it to

 4   Plaintiffs’ outside counsel without violating legal obligations, unless there is an order in place that

 5   governs any further disclosure of the information by Plaintiffs’ outside counsel. (Id.) Thus far,

 6 Plaintiffs have refused to stipulate even to a streamlined temporary Protective Order. (Id.) As a

 7 result, Defendants have moved this Court to enter a Protective Order allowing Defendants to

 8 disclose their important information to the Court and to Plaintiffs’ outside counsel on an
 9 “attorneys’ eyes only” basis.

10           This motion does not seek to delay the proceeding. The absence of a protective order is

11 the only reason for the extension requested by this motion. In the absence of such a Protective

12 Order, Defendants cannot oppose Plaintiffs’ motion to compel without, by omission, misleading

13 the Court (without, of course, any intention of doing so). (Id. ¶ 3.) With a protective order that

14 allows such a disclosure, Defendants could timely respond to Plaintiffs’ motion on the current

15 schedule.

16           To avoid misleading the Court about their position regarding the motion to compel,

17 Defendants must be able to disclose their information. (Id. ¶¶ 3, 7.) But Defendants cannot do so

18 until this Court grants Defendants’ motion for a protective order or otherwise issues a protective
19 order permitting Defendants to provide information to Plaintiffs on an attorney’s eyes only basis

20 that restricts the further disclosure of the information. (Id. ¶ 3.)

21           Accordingly, on August 6, 2020, Defendants’ counsel asked Plaintiffs’ counsel (by email)

22 to stipulate to an extension of the briefing schedule on Plaintiffs’ motion to compel until after the

23 hearing date for Defendants’ motion for a protective order. (Id. ¶ 4.) Plaintiffs’ counsel refused.

24 (Id. ¶ 5.) 3

25           Defendants thus ask this court to extend their deadline to oppose Plaintiffs’ motion to

26

27   3
        The accompanying Declaration of Joseph N. Akrotirianakis provides more background
28   information relevant to this motion and Defendants’ compliance with Local Rules 6-3 and 37-1(a).
         DEFENDANTS’ MOTION TO                          2                        Case No. 4:19-cv-07123-PJH
         EXTEND TIME
      Case 4:19-cv-07123-PJH Document 119 Filed 08/07/20 Page 4 of 4




 1   compel. Specifically, Defendants ask the Court to set the deadline for their opposition as ten days

 2   following the entry of a protective order. Such a schedule will allow the Court to properly evaluate

 3   and decide Plaintiffs’ motion to compel with all relevant information. If the requested relief is not

 4   granted, the Court and Plaintiffs will be prejudiced because they will receive an incomplete picture

 5   of the case’s status, possibly leading to wasteful expenditures of time and resources. Defendants

 6   will also be prejudiced because they will be unable to oppose Plaintiffs’ motion to compel without

 7   potentially misleading the Court and Plaintiffs.

 8          For the foregoing reasons, Defendants respectfully request that the Court extend the

 9 deadlines related to Plaintiffs’ motion to compel, as described above and in the accompanying

10 Proposed Order.

11

12   DATED: August 7, 2020                              KING & SPALDING LLP
13

14
                                                        By: /s/ Joseph N. Akrotirianakis _________
15                                                          JOSEPH N. AKROTIRIANAKIS
16                                                          AARON S. CRAIG
                                                            Attorneys for Defendants NSO GROUP
17                                                          TECHNOLOGIES LIMITED and Q
                                                            CYBER TECHNOLOGIES LIMITED
18
19

20

21

22

23

24

25

26

27

28
       DEFENDANTS’ MOTION TO                            3                       Case No. 4:19-cv-07123-PJH
       EXTEND TIME
